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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND


 LEADERS OF A BEAUTIFUL STRUGGLE
 et al.,

                Plaintiffs,
                                                              No. 20-cv-929-RDB
         v.

 BALTIMORE POLICE DEPARTMENT
 et al.,

                Defendants.


                                    NOTICE OF APPEAL

         NOTICE IS HEREBY GIVEN that Plaintiffs in the above-captioned case, Leaders of a

Beautiful Struggle, Erricka Bridgeford, and Kevin James, hereby appeal to the United States

Court of Appeals for the Fourth Circuit from the Court’s memorandum opinion and order,

entered on April 24, 2020, denying Plaintiffs’ motion for a preliminary injunction. See ECF Nos.

32–33.




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April 24, 2020                                  Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 24th day of April, 2020, I electronically filed the foregoing

Plaintiffs’ Notice of Appeal with the clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing.

                                                      /s/ David R. Rocah
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